Case 5:97-cv-00039-RH Document 18 Filed 04/13/99 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
PANAMA CITY DIVISION

SAMANTHA DORINDA LOPEZ,

Petitioner,
Vv. CASE NO. 5:97cv39-RH
SAL SEANEZ,

Respondent.

 

ORDER DENYING PETITION

This matter is before the court on the Magistrate
Judge’s Report and Recommendation (document 16), and the
objections thereto (document 17). I have reviewed de novo
the matters addressed by the objections. Upon
consideration,

IT IS ORDERED:

The Report and Recommendation is ACCEPTED and adopted
as the opinion of the court. The amended petition for writ

of habeas corpus is DENIED. The clerk shalj},enter judgment

™ i T se
Ws bgp hg,
gieryT a nthe
PNP ete
yale ror
!

oy ANY & te
So APR Io bit ad
4 a
pet GH BY cL ‘
rn MOGCKET |. st
ENTERED ON DOC raya) & SB REPS
reves 58 & 7212) FRC OF Fakhh
Ales _ .
- mo i . —— ts 1 - i
os : ’ eg i i wb
Copies maiied to: LGAs “4 femme beweee ber
“a0: 4 Po, .
Uk. - eA fie“

  
 
Case 5:97-cv-00039-RH Document 18 Filed 04/13/99 Page 2 of 2

accordingly and close the file.
SO ORDERED this if day of April, 1999.

Robert L. Hinkle
United States District Judge
